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UNITED STATES DISTRICT COURT Fey po.
DISTRICT OF MARYLAND -

 

GABRIELLA TILLERY, AS GUARDIAN TO G.M., and
C.M., Index #:

Plaintiffs,
COMPLAINT

-against-
JURY TRIAL DEMANDED

BALTIMORE CITY, BALTIMORE CITY POLICE
DEPARTMENT, BALTIMORE COUNTY, BALTIMORE
COUNTY POLICE DEPARTMENT, LOWER
CHICHESTER TOWNSHIP, LOWER CHICHESTER
TOWNSHIP POLICE DEPARTMENT, DELAWARE
COUNTY, DELAWARE COUNTY SHERIFF’S OFFICE,
OFFICER TIMOTHY MCBRIDE and JOHN DOES 1-30,
RICHARD ROES 1-30,

Defendants.

 

Plaintiff Gabriella Tillery, as guardian of G.M. and C.M., the children of Michael
Marullo, alleges upon knowledge, information, and/or belief as follows:

PRELIMINARY STATEMENT

This is a civil rights action in which Plaintiff Gabriella Tillery, as the guardian of G.M.
and C.M., seeks relief for Defendants’ violation of Michael Marullo’s rights, privileges,
and immunities secured by 42 U.S.C. §1983, the Fourth, Eighth, and Fourteenth
Amendments to the United States Constitution and the Constitution and laws of the State
of Maryland. As well as Bivens claims against any and all Federal Officers involved in
this action.

The Defendants, acting jointly and severally, committed a series of unlawful acts that
culminated in the shooting death of Decedent, MICHAEL MARULLO, a 33 year old son
and father outside of 5900 Radecke Avenue, in Baltimore, Maryland, on February 12,

 
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2020, and, in so doing, deprived the Decedent of rights secured by the United States
Constitution, federal law, and the Constitution and laws of the State of Maryland.

JURISDICTION AND VENUE

The Court has subject matter jurisdiction pursuant to 28 U.S.C. §1331 and §1343.
Plaintiff further invokes the supplemental jurisdiction of this Court under 28 USC. §1367
to hear and decide claims arising under state law.

Venue in the District of Maryland is proper under 28 U.S.C. §1391(b)because a
substantial part of the events giving rise to this action occurred within the district.

JURY DEMAND
The Plaintiffs hereby demands trial by jury and all issues properly triable thereby.
PARTIES

Plaintiff GABRIELLA TILLERY is a resident of the United States. Ms. Tillery is the
guardian of G.M. and C.M., the children of Michael Marullo.

Plaintiff G.M. (“Ms. Marullo”), is a natural person and resident of United States, residing
in Delaware County and State of Pennsylvania. She is the surviving daughter of Mr.
Michael Marullo.

Plaintiff C.M. (“Mr. Marullo”), is a natural person and resident of United States, residing
in the county of Delaware County and State of Pennsylvania. He is the surviving son of
Mr. Michael Marullo.

Defendant BALTIMORE CITY (“CITY”) is a duly constituted municipal corporation of
the State of Maryland. City is authorized under the laws of the State of Maryland to
maintain a police department, the Baltimore City Police Department. The City assumes
the risks incidental to the maintenance of a police force and the employment of police
officers.

Defendant BALTIMORE CITY POLICE DEPARTMENT (“BCPD”) acts as the agent of
the City in the area of law enforcement and for which it is ultimately responsible. BPCD
is liable for the acts of members of its police force.

Defendant BALTIMORE COUNTY (“COUNTY”) is a duly constituted municipal
corporation of the State of Maryland. City is authorized under the laws of the State of
Maryland to maintain a police department, the Baltimore County Police Department. The
City assumes the risks incidental to the maintenance of a police force and the
employment of police officers.
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Defendant BALTIMORE COUNTY POLICE DEPARTMENT (“COUNTY PD”) acts as
the agent of the City in the area of law enforcement and for which it is ultimately
responsible. BPCD is liable for the acts of members of its police force.

Defendant LOWER CHICHESTER TOWNSHIP (“TOWNSHIP”) is a duly constituted
municipal corporation of the Commonwealth of Pennsylvania. It is authorized under the
laws of the Commonwealth of Pennsylvania to maintain a police department, the
LOWER CHICHESTER TOWNSHIP POLICE DEPARTMENT (“LCTPD”). The
Township assumes the risks incidental to the maintenance of a police force and the
employment of police officers.

Defendant LOWER CHICHESTER TOWNSHIP POLICE DEPARTMENT (“LCTPD”)
acts as the agent of the Township in the area of law enforcement and for which it is
ultimately responsible. LCTPD is liable for the acts of members of its police force.

Defendant DELAWARE COUNTY (“County”) is a municipality entity created and
authorized under the laws of the Commonwealth of Pennsylvania. It is authorized by law
to maintain a police department, Delaware County Sheriff's Department (“SHERIFF”)
,The County assumes the risks incidental to the maintenance of a police force and the

employment of police officers as said risks attach to the public consumers of the services
provided by DELAWARE COUNTY.

Defendant Delaware County Sheriff's Department (“SHERIFF”) as the agent of the
County in the area of law enforcement and for which it is ultimately responsible. Sheriffs
liable for the acts of members of its police force.

Defendant POLICE OFFICER TIMOTHY MCBRIDE (“PO MCBRIDE”) is an
employee of the Township and a member of the Lower Chichester Township Police
Department. He is one of the officers who swore an affidavit of Probable Cause for an
arrest warrant for Michael Marullo. At all times relevant to the facts of the Complaint,
said Defendant was acting under color of law and within the scope of his employment by
the Township. Said Defendant is sued in his individual and official capacities.

John Does 1-10 are employees of CITY and/or BCPD, or any other municipality, created
pursuant to the laws of the State of Maryland, involved in the facts set out in this
complaint, including but not limited to anyone from these locales who was present at the
scene on or about February 12, 2020 and whose names are presently unknown to
Plaintiff. On information and belief, said Defendants shot and killed Decedent
MICHAEL MARULLO when he was unarmed and surrendering. Their names will be
added, upon motion, once Plaintiff has learned the names through the discovery process.

Richard Roes 1-10 are supervising employees of CITY and/or BCPD, or any other
municipality, created pursuant to the laws of the State of Maryland, involved in the facts
set out in this complaint, including but not limited to anyone from these locales who was
present at the scene on or about February 12, 2020 and whose names are presently
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unknown to Plaintiff. On information and belief, said Defendants used excessive force
when they shot and killed Decedent MICHAEL MARULLO when he was surrendering.
Their names will be added, upon motion, once Plaintiff has learned the names through the
discovery process.

John Does 11-20 are employees of COUNTY and/or COUNTY PD, or any other
municipality, created pursuant to the laws of the State of Maryland, involved in the facts
set out in this complaint, including but not limited to anyone from these locales who was
present at the scene on or about February 12, 2020 and whose names are presently
unknown to Plaintiff. On information and belief, said Defendants used excessive force
when they shot and killed Decedent MICHAEL MARULLO when he was surrendering.
Their names will be added, upon motion, once Plaintiff has learned the names through the
discovery process.

Richard Roes 11-20 are supervising employees of COUNTY and/or COUNTY PD, or
any other municipality, created pursuant to the laws of the State of Maryland, involved in
the facts set out in this complaint, including but not limited to anyone from these locales
who was present at the scene on or about February 12, 2020 and whose names are
presently unknown to Plaintiff. On information and belief, said Defendants used
excessive force when they shot and killed Decedent MICHAEL MARULLO when he
was surrendering. Their names will be added, upon motion, once Plaintiff has learned the
names through the discovery process.

John Does 21-30 are employees of TOWNSHIP and/or LCTPD or any other
municipality, created pursuant to the laws of the Commonwealth of Pennsylvania,
involved in the facts set out in this complaint, including but not limited to the issuance of
the arrest warrant for Decedent MICHAEL MARULLO, the investigation relating to
Lower Chichester Police Department Complaint Number 20200211M7001, and anyone
from these locales who was present at the scene on or about February 12, 2020 and
whose names are presently unknown to Plaintiff. On information and belief, said
Defendants used excessive force when they shot and killed Decedent MICHAEL
MARULLO when he was _ surrendering. Their names will be added, upon motion, once
Plaintiff has learned the names through the discovery process.

Richard Roes 21-30 are supervising employees of TOWNSHIP and/or LCTPD or any
other municipality, created pursuant to the laws of the Commonwealth of Pennsylvania,
involved in the facts set out in this complaint, including but not limited to the issuance of
the arrest warrant for Decedent MICHAEL MARULLO, the investigation relating to
Lower Chichester Police Department Complaint Number 20200211M7001, and anyone
from these locales who was present at the scene on or about February 12, 2020 and
whose names are presently unknown to Plaintiff. On information and belief, said
Defendants used excessive force when they shot and killed Decedent MICHAEL
MARULLO when he was surrendering. Their names will be added, upon motion, once
Plaintiff has learned the names through the discovery process.

 
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John Does 31-40 are employees of COUNTY and/or SHERIFF’s, or any other
municipality, created pursuant to the laws of the State of Delaware, involved in the facts
set out in this complaint, including but not limited to anyone from these locales who was
present at the scene on or about February 12, 2020 and whose names are presently
unknown to Plaintiff. On information and belief, said Defendants used excessive force
when they shot and killed Decedent MICHAEL MARULLO when he was surrendering.
Their names will be added, upon motion, once Plaintiff has learned the names through the
discovery process.

Richard Roes 21-30 are supervising employees of COUNTY and/or SHERIFF’s, or any
other municipality, created pursuant to the laws of the State of Delaware, involved in the
facts set out in this complaint, including but not limited to anyone from these locales who
was present at the scene on or about February 12, 2020 and whose names are presently
unknown to Plaintiff. On information and belief, said Defendants used excessive force
when they shot and killed Decedent MICHAEL MARULLO when he was surrendering.
Their names will be added, upon motion, once Plaintiff has learned the names through the
discovery process.

FACTUAL ALLEGATIONS

The incident complained of herein occurred on or about February 12, 2020 at
approximately 12:30 p.m., Decedent, MICHAEL MARULLO, while exiting his
apartment with his hands raised in the act of surrendering to law enforcement, was killed
by members of a joint federal task force that included various members of the defendant
police departments.

Upon information and belief, the task forces included the Maryland State Police Task
Force and U.S. Marshal Fugitive Task Force.

Upon information and belief, the various law enforcement departments that were part of
the task forces present at the MICHAEL MARULLO’s home on February 12, 2020, were
signators to a law enforcement corroboration agreement.

The Decedent, MICHAEL MARULLO, was a former Correction Officer in Baltimore
County, who resigned, upon information and belief, in December of 2019.

On February 11, 2020, at approximately 4:15 p.m., Decedent, MICHAEL MARULLO
was picking up his toddler twin children, Plaintiffs GENEVIEVE MARULLO and C.M.,
from day care. The pick up was at Bridge Church in Marcus Hook, Pennsylvania,

Douglas McDonald owned a car detailing service across the street from the Bridge
Church.

 
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Robinn McDonald, the grandmother of Plaintiffs G.M. and C.M., is married to Douglas
McDonald. On at least one prior occasion, during a phone call on or around February 9,
2020, Douglas Mcdonald had threatened to harm Michael Marullo.

McDonald saw the Decedent, MICHAEL MARULLO across the street from McDonald’s
business, where Marullo was picking up his children from day care.

McDonald waved the Decedent over to his business.

Upon information and belief, MICHAEL MARULLO complied with this request and
with his twins in his vehicle, he drove across the street to the vicinity of McDonald’s
business.

Upon information and belief, when MICHAEL MARULLO, exited his car, McDonald
attacked Marullo in the vicinity of his vehicle. MICHAEL MARULLO was able to
extricate himself from this physical attack by firing two shots, one in the air and one in
the ground, and left in his car with his children. Upon information and belief, at no time
did Mr. MARULLO intend to shoot Mr. McDonald

MICHAEL MARULLO drove his two children to their grandmother’s, Robinn
McDonald, the wife of Douglas McDonald, where the children’s mother was along with
her other children.

MICHAEL MARULLO dropped the children off, and, upon information and belief,
drove to his home in Baltimore.

Upon information and belief, Douglas McDonald filed a criminal report with the Lower
Chichester Police Department against MICHAEL MARULLO.

Upon information and belief, having just returned to Baltimore, MICHAEL MARULLO
was informed of the criminal complaint filed by Douglas McDonald (Douglas
complaint).

MICHAEL MARULLO sought local legal counsel to deal with the Douglas complaint.

MICHAEL MARULLO then drove back to Pennsylvania and remained at the parking lot
of a McDonalds’ Restaurant located at 2326 Market Street, Linwood, Pennsylvania
(“Market Street Lot’).

The Market Street Lot in Linwood, PA is /ess than a mile from the Lower Chichester
Police Station.

Eventually, MICHAEL MARULLO, moved his car to the parking lot of the Bridge
Church (where his children were in day care). MICHAEL MARULLO slept in his
vehicle that evening parked in the Bridge Church, which is /ess than a tenth of a mile
from the Lower Chichester Police Department.
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At 9:45 a.m., an arrest warrant was generated in the Pennsylvania Magisterial District
Court, MDJ-32-1-36, issued by the Honorable David R. Griffin. The offense was PA 18 §
2701, Simple Assault, a misdemeanor in the second degree.

In the application for this warrant, Defendant McBride identified multiple possible
charges against MICHAEL MARULLO, however, the issuing Judge only identified the
offense as Simple Assault, a misdemeanor in the second degree.

In the Warrant that was then issued, arising from the simple assault warrant, it identified
under NCIC extradition code that this was a FELONY with FULL EXTRADITION
unless otherwise noted.

At approximately 11:00 am. on February 11, 2020, the Decedent, MICHAEL
MARULLO, drove back to his home at Baltimore. Upon information and belief, during
that drive he called the mother of his children, Gabriella Tillery, and his mother, Susan
Marullo.

At Approximately 12:00 p.m. on February 11, 2020, the Decedent, MICHAEL
MARULLO, arrived at 5900 Radecke Avenue, Baltimore, Maryland.

Shortly thereafter, a Maryland State Police Task Force and U.S. Marshal Fugitive Task
Force arrived to arrest the Decedent, MICHAEL MARULLO, for the Pennsylvania
warrant.

The Decedent, MICHAEL MARULLO, exited his apartment with his hands up.
Defendant JOHN DOE OFFICERS and/or RICHARD ROE OFFICERS shot and killed
him. In the crossfire, officers also shot each other. !

The Decedent, MICHAEL MARULLO, exited the apartment, he did not fire a round at
all prior to or during the officer’s attempt to arrest him.

A Notice of Claim pursuant to 42 Pa. C.S. § 5522 was timely served upon Defendant
Chichester Township and Delaware County, as well as the Pennsylvania Office of the
Attorney General. More than thirty days have elapsed without the matter being resolved
by the Defendants. The Notice of Claim identified Defendant OFFICER TIMOTHY
MCBRIDE by name and provided information regarding the actions that the officers took
during the killing the Decedent, MICHAEL MARULLO, and was sufficient to put each
of the Defendants on notice of the conduct that they were alleged to have engaged in.

A Notice of Claim pursuant to Md. Code Ann. Courts & Jud. Proc. §5-304 was timely
served upon Defendant Baltimore City.

 

' Footage of this shooting was taken by a witness and played in the media. The video depicts Marullo leaving his
apartment building with his hands up before being shot.

 
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A Notice of Claim pursuant to Md. Code Ann. Courts & Jud. Proc. §5-304 was timely
served upon Defendant Baltimore County.

More than thirty days have elapsed without the matter being resolved by the Defendants.
The Notice of Claim identified Defendant OFFICER TIMOTHY MCBRIDE by name
and provided information regarding the actions that the officers took during the killing
the Decedent, MICHAEL MARULLO, and was sufficient to put each of the Defendants
on notice of the conduct that they were alleged to have engaged in.

In the State of Maryland, there have been numerous incidents wherein law enforcement
would exercise force, including deadly force, during enforcement actions, depriving the
individuals suffering the use of force of constitutional rights, including but not limited to
rights guaranteed by the 4", 8" and 14" Amendments to the United States Constitution.

Among the instances where this occurred prior to the killing of MICHAEL MARULLO
were:

August 2013 the shooting death of Tavon Smith and Baltimore County Police Officer
Jason Schneider occurred during the service of an arrest warrant for an individual that
was not present in the home, and who was subsequently acquitted of the charge underling
the warrant that was being served that day;

June 2005 shooting death of Cheryl Lynn Noel by Baltimore County Police Officers
during service of a warrant that resulted in less than a misdemeanor amount of marijuana
in the home;

The findings of the ACLU of Maryland in a report issued in March 2015 titled, Briefing
Papers on Deaths in Police Encounters in Maryland, 2010-2014, that included of the
109 deaths that occurred in the police encounters in Maryland in that time frame occurred
in Baltimore City and 13 occurred in Baltimore County (with only Prince Georges
County having more than 13, with 21); and that less than two (2) percent of cases resulted
in any charges against the police officers involved;

The Baltimore Police Policy 1007 issued February 9, 2021 that updated and refined the
use of warrants and the standards for obtaining warrants that includes information
required to be included in affidavits underlying warrants including, but not limited to, (i)
Material facts impacting the credibility of an informant or witness(23.1); (11) The bias of
an informant or witness (23.2) and material evidence that would undermine informant’s
statement of events (23.5);

The U.S. Department of Justice Civil Rights Division issued a report in August 2016
that held that Baltimore City Police Department uses unreasonable force, and its overly
aggressive tactics unnecessarily escalated encounters and resulted in excessive force.

The U.S. Department of Justice Civil Rights Division issued a report in August 2016
that held that Baltimore City Police fails to adequately supervise its officers, fails to hold

 
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officers accountable for misconduct, fails to properly train and provide guidance to its
officers; all leading to constitutional violations

59. These incidents provided notice to Defendants CITY, BCPD, COUNTY and
COUNTY PD, that their officers were likely to face instances of difficult decision making in
the use of force during the service of warrants.

These incidents provided notice to Defendants CITY, BCPD, COUNTY and COUNTY
PD, that the use of force decisions their law enforcement officers and employees would
face while serving warrants would be made easier with better training regarding the use
of force during the service of warrants.

Defendants CITY, BCPD, COUNTY and COUNTY PD knew that proper training
regarding the use of force during the service of warrants would help ensure their
employees would understand the appropriate use of force in such situations and avoid
frequently violating the constitutional rights of individuals to whom their employees
would come into contact.

Having been provided notice by these prior incidents that the employees and agents of
Defendants CITY, BCPD, COUNTY and COUNTY PD were not properly trained in the
exercise of force in the enforcement of warrants, these Defendants had a choice about
what corrective action they could take to safeguard the constitutional rights of their
citizenry.

Upon information and belief, in light of the notice provided by the prior incidents, there
has been no change to the training received by law enforcement employees and agents of

the Defendants CITY, BCPD, COUNTY and COUNTY PD, in regard to their use of
force while serving a warrant.

The failure of these Defendants to update their training is deliberately indifferent to the
rights of its citizenry that would come into contact with these Defendants law
enforcement officers and agents during service and enforcement of a warrant.

Plaintiffs suffered the untimely end of their relationship with their father with the
corresponding loss of his services, support love and affection, care, protection, assistance,
society, comfort, guidance, counsel and advice.

FEDERAL CLAIMS FOR RELIEF
FIRST CLAIM FOR RELIEF
(Pursuant to 42 U.S.C. §1983 for Violations of the Fourth, Eighth and Fourteenth
Amendments and Bivens Claims against all the Individual Defendants)

Plaintiff incorporates the allegations contained in the previous paragraphs of this
Complaint as if fully set forth herein.

 
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The Individual Defendants, all acting under color of law as police officers, caused the
Decedent, MICHAEL MARULLO, to be unlawfully arrested, falsely imprisoned, and
killed in violation of his rights to be free of unreasonable seizure under the Fourth
Amendment of the Constitution of the United States, free from excessive force under the
4 and 8" Amendments to the Constitution of the United States and to be free of
deprivation of liberty under the Fourteenth Amendment to the Constitution of the United
States.

The Individual Defendants, MCBRIDE, John Does 1-40, and Richard Roes 1-40
involved in the investigation relating to Lower Chichester Police Department Complaint
Number 20200211M7001, and Defendants CITY, BCPD, COUNTY, COUNTY PD,
TOWNSHIP, LCTPD, COUNTY and SHERRIF’s were all acting under their authority
and their scope of their employment by Defendants CITY, BCPD, COUNTY, COUNTY
PD, TOWNSHIP, LCTPD, COUNTY and SHERRIF’s, and therefore are responsible for
their conduct.

As a result of the aforementioned conduct of Defendants, the Decedent, MICHAEL
MARULLO, sustained injuries, including but not limited to physical, emotional,
psychological, economic injuries, and loss of life.

The Plaintiffs G.M. and C.M. have lost the services, guidance, nurture, and financial
support of their father, as well as any inheritance.

The aforesaid actions of said Defendants were an unreasonable and unnecessary use of
excessive force that deprived the Decedent, MICHAEL MARULLO, of rights, privileges
and immunities secured by the Fourth, Eighth, and Fourteenth Amendments of the United
States Constitution, in violation of 42 U.S.C. § 1983.

SECOND CLAIM FOR RELIEF
(Supervisory Liability)

Plaintiff incorporates the allegations contained in the previous paragraphs of this
Complaint as if fully set forth herein.

The Individual Defendants Richard Roes 1-40 performed supervisory functions of
Defendant OFFICER TIMOTHY MCBRIDE and John Doe Defendants 1-40.

The Individual Defendants Richard Roes 1-40 failed to properly supervise said officers
and took no action that would have prevented the injuries sustained by Decedent,
MICHAEL MARULLO.

As a direct and proximate cause of said Individual Defendants Richard Roes 1-40
failure to properly supervise their subordinates, the Plaintiffs’ and Decedent MICHAEL
MARULLO’s state and federal constitutional rights were violated, including, as
aforementioned in violation of 42 U.S.C. §1983.

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STATE CLAIMS FOR RELIEF
THIRD CLAIM FOR RELIEF
(For Conscious Pain and Suffering)

Plaintiff incorporates the allegations contained in the previous paragraphs of this
Complaint as if fully set forth herein.

The Individual Defendants, John Does 1-40, and Richard Roes 1-40 and Defendants
OFFICER TIMOTHY MCBRIDE and John/Jane Doe Defendants without just cause, or
provocation, used force andor deadly physical force against Decedent, MICHAEL
MARULLO. The use of such force was not justified or warranted under the
circumstances and constituted unreasonable and unnecessary force.

The use of such force did not immediately cause Decedent MICHAEL MARULLO’s
death. As a result, he suffered and experienced a fear of impending death, severe
emotional distress, and conscious pain and suffering.

As a direct and proximate result of one or more of the aforementioned acts or omissions
of the Defendants, decedent MICHAEL MARULLO, suffered serious injuries, namely
personal injury of a pecuniary nature including, but not limited to, great pain and
suffering before his death, pre-impact and post-impact fright, and medical expenses,
subjecting Defendants to liability and damages pursuant to the Survival Act Statute.

The Defendants CITY, BCPD, COUNTY, COUNTY PD, TOWNSHIP, LCTPD,
COUNTY and SHERRIF are responsible for the actions of said Individual Defendants
that were taken in the scope of their employment as police officers.

Wherefore, all Plaintiffs demand judgment against all Defendants, jointly and severally,
in an amount that exceeds $75,000 and will be determined by a jury including punitive
damages plus interest and costs, in order to fully and fairly compensate Plaintiffs for all
losses compensable under the terms of the Survival Statute.

FOURTH CLAIM FOR RELIEF
(Wrongful Death)

Plaintiff incorporates the allegations contained in the previous paragraphs of this
Complaint as if fully set forth herein.

It was the duty of all Defendants to exercise reasonable care under the circumstances to
protect and preserve the life of the decedent, Michael Marullo, and respect his right to be
free from the officers' use of excessive force arising out of the attempted execution of the
subject warrant. Yet, notwithstanding these duties, Defendants, CITY, BCPD,
COUNTY, COUNTY PD, TOWNSHIP, LCTPD, COUNTY and SHERRIF, through
their agents, servants, or employees, the Individual Defendants, John Does 1-40, and

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Richard Roes 1-40 and Defendants OFFICER TIMOTHY MCBRIDE, within the course
and scope of their employment failed to exercise reasonable care under the
circumstances.

All Defendants used their authority to create a danger to MICHAEL MARULLO by
escalating the conditions, which ultimately resulted in the death of MICHAEL
MARULLO. The i Individual Defendants, John Does 1-40, and Richard Roes 1-40 and
Defendants OFFICER TIMOTHY MCBRIDE, officers intentionally, with malice
afterthought used their authority and provoked him, and rendered him vulnerable to a
violent death.

Defendants CITY, BCPD, COUNTY, COUNTY PD, TOWNSHIP, LCTPD, COUNTY
and SHERRIF acted with deliberate indifference to the Maryland Constitutional and
United States Constitutional rights of decedent MICHAEL MARULLO and created a
dangerous situation, that directly and/or proximately caused the death of MICHAEL
MARULLO.

Defendants CITY, BCPD, COUNTY, COUNTY PD, TOWNSHIP, LCTPD, COUNTY
and SHERRIF acted with deliberate indifference to the Maryland Constitutional and
United States Constitutional rights of decedent MICHAEL MARULLO and created a
dangerous situation, that directly and/or proximately caused the death of MICHAEL
MARULLO and there is no sufficient intervening cause that resulted in the injuries and
death to MICHAEL MARULLO.

As a direct and proximate result of one or more of the aforementioned acts or omissions
of all the Defendants, Plaintiffs’ decedent suffered serious injuries that resulted in death.
All Defendants’ aforementioned acts or omissions constituted gross negligence and a
violation of decedent MICHALE MARULLO’s constitutional rights under the Maryland
Constitution and the United States Constitution.

Pursuant to the Annotated Code of Maryland, Courts & Judicial Proceedings § 3: 904(a),
Plaintiffs bring an action based upon the death of MICHAEL MARULLO at the hands of
Defendants. As a direct and proximate result of the wrongful death of MICHAEL
MARULLO, the Plaintiffs, G.M. and C.M., his natural daughter and son, demand all
damages recoverable under the Maryland Wrongful Death Statute, including but not
limited to pecuniary loss, loss of society, loss of companionship, loss of comfort, loss of
parental care, loss of protection, loss of attention, loss of advice, loss of counsel, loss of
training, loss of education, loss of guidance, the costs of funeral, medical and
psychological expenses, and all other damages or expenses claimed by the Plaintiffs
directly including mental anguish, emotional pain and suffering, as well as all other
damages recoverable under the wrongful death act of Maryland.

By virtue of the wrongful death of Decedent, MICHAEL MARULLO, the family of the
Decedent have been deprived of the support, maintenance, and society of the prior
relationship and communion with the Decedent, as well as the Decedent’s society,

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guidance and of potential enhanced inheritance from MICHAEL MARULLO, including
but not limited to, pecuniary loss mental anguish, emotional pain and suffering, loss of
society, loss of companionship, loss of comfort, loss of protection, loss of attention, loss
of advice, the costs of funeral, medical and psychological expenses and all other damages
or expenses claimed by the Plaintiffs.

As a result of the foregoing, the distributees and next of kin of the Decedent, MICHAEL
MARULLO, have sustained damages; that as a result of the aforesaid occurrence, the
Decedent, MICHAEL MARULLO, suffered severe injuries to his body and limbs, a
severe shock to his nervous system and certain internal injuries, and were caused to suffer
severe pain and mental anguish which said injuries resulted in death, with resulting
expenses or obligation for funeral and burial, all to the damage of MICHAEL
MARULLO and Plaintiffs herein.

The Individual Defendants, John Does 1-40, and Richard Roes 1-40 and Defendant
OFFICER TIMOTHY MCBRIDE, each acting within the scope of their employment,
caused the death of the Decedent, MICHAEL MARULLO, by the use of a firearm,
without cause or justification.

Said actions of the defendants, as alleged above, constitute violations of the Maryland
Constitution and the Maryland Courts and Judicial Proceedings.

These violations were committed within the scope of the officers’ employment for CITY
BPCD, COUNTY and COUNTY PD, and thereby, render them liable for the wrongful
death of the Decedent, MICHAEL MARULLO.

Defendants are responsible for the actions of said Individual Defendants that were taken
in the scope of their employment as police officers.

Wherefore, all Plaintiffs demand judgment against all Defendants, jointly and severally,
in an amount that exceeds $75,000 and will be determined by a jury including punitive
damages plus interest and costs, in order to fully and fairly compensate Plaintiffs for all
losses compensable under the terms of the Wrongful Death Statute.

FIFTH CLAIM FOR RELIEF
(Assault and Battery)

Plaintiff incorporates the allegations contained in the previous paragraphs of this
Complaint as if fully set forth herein.

The direct actions of shooting and killing Marullo by the Individual Defendants, John
Does 1-40, and Richard Roes 1-40 and Defendant OFFICER TIMOTHY MCBRIDE,
were intentional, malicious and were committed with wanton disregard for the rights of
the Decedent, MICHAEL MARULLO.

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The actions of said The Individual Defendants, John Does 1-40, and Richard Roes 1-40
and Defendant OFFICER TIMOTHY MCBRIDE, were unjustified and unnecessary in
the performance of their duties as police officers and were unreasonable and unwarranted
and constituted an excessive use of force.

The actions aforesaid constituted unlawful assaults and batteries upon the Decedent,
MICHAEL MARULLO.

The said Defendants acted in concert and conspired to commit said assaults and batteries
upon Marullo.

As a result of said conduct of the Individual Defendants, John Does 1-40, and Richard
Roes 1-40 and Defendant OFFICER TIMOTHY MCBRIDE, the Decedent, MICHAEL
MARULLO sustained serious and severe injuries, both physical and emotional.

The Defendants CITY, BCPD, COUNTY, COUNTY PD, TOWNSHIP, LCTPD,
COUNTY and SHERRIF are responsible for the actions of said Individual Defendants as
the acts were committed within the scope of their employment as police officers.

Wherefore, all Plaintiffs demand judgment against all Defendants, jointly and severally,
in an amount that exceeds $75,000 and will be determined by a jury including punitive
damages plus interest and costs, in order to fully and fairly compensate Plaintiffs for all
losses compensable under this claim.

SIXTH CLAIM FOR RELIEF
(Negligence)

Plaintiff incorporates the allegations contained in the previous paragraphs of this
Complaint as if fully set forth herein.

Defendant Officers owed a duty of care to the Decedent, MICHAEL MARULLO.

To the extent Defendant Officers claim that the injuries to the Decedent, Decedent,
MICHAEL MARULLO by the Defendant Officers were unintentionally caused and that
the force used by the Defendant Officers against him was unintentional, then the
Defendants breached that duty of care by shooting the Decedent when he was unarmed
and attempting to surrender.

As a direct and proximate result of such acts, defendants deprived the Decedent,
MICHAEL MARULLO of his rights under the laws of the State of Maryland.

All of the foregoing occurred without any fault or provocation by the Decedent,
MICHAEL MARULLO.

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The individual officers, acting within the scope of their employment, negligently
discharged their duties by failing to exercise a reasonable degree of care in the discharge
of some of their duties, and thereby failed to properly communicate with the Decedent,
MICHAEL MARULLO, failed to diffuse a situation, and created a dangerous situation
that caused the Decedent to sustain the injuries and deprivations aforementioned.

The Defendants CITY, BCPD, COUNTY, COUNTY PD, TOWNSHIP, LCTPD,
COUNTY and SHERRIF are responsible for the negligence of its officers committed
within the scope of their employment.

By the actions described above, each and every Defendant, jointly and severally, has
committed the foregoing wrongful acts against the Decedent, MICHAEL MARULLO,
which are actionable under the Constitution and laws of the State of Maryland.

The aforementioned acts and conduct proximately caused the injuries sustained by the
Decedent, MICHAEL MARULLO, and violated the statutory and common law rights
guaranteed to them by the Constitution and the laws of the State of Maryland.

Wherefore, all Plaintiffs demand judgment against all Defendants, jointly and severally,
in an amount that exceeds $75,000 and will be determined by a jury including punitive
damages plus interest and costs, in order to fully and fairly compensate Plaintiffs for all
losses compensable under this claim.

SEVENTH CLAIM FOR RELIEF
(Municipal MONELL Claim)

Plaintiff incorporates the allegations contained in the previous paragraphs of this
Complaint as if fully set forth herein.

All of the wrongful acts or omissions complained of herein were carried out by the
individual named and unnamed defendants pursuant to: (a) formal policies, rules, and
procedures of Defendants CITY, BCPD, COUNTY and COUNTY PD; (b) actions and
decisions by Defendants CITY, BCPD, COUNTY and COUNTY PD‘s policymaking
agents; (c) customs, practices, and usage of the Defendants CITY, BCPD, COUNTY and
COUNTY PD, that are so widespread and pervasive as to constitute de facto policies
accepted, encouraged, condoned, ratified, sanctioned, and/or enforced by Defendants
policymaking officials; (d) Defendants CITY, BCPD, COUNTY, and COUNTY PD
deliberate indifference to Plaintiffs’ rights secured by the Fourth, Eighth and Fourteenth
Amendments of the United States Constitution, as evidenced by the Defendants CITY,
BCPD, COUNTY, and COUNTY PD’s failures, and the failures of the City’s
policymaking agents, to train, supervise, and discipline its law enforcement officers and
agents, despite full knowledge of the officers’ wrongful acts, as described herein.

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The aforementioned policies, practices, rules, procedures, customs, and usages that
Plaintiffs challenge herein include, but are not limited to:

The use of force in service of warrants;

The use of force when an individual is seeking to surrender;

The participation in joint state, municipality and/or agency task forces;

Authorizing members of other law enforcement departments to assist in execution of
warrants without appropriate oversight of the training received by these task force
members;

The use of excessive force by members of the various defendant police departments
without proper training;

The use of SWAT teams, barricades, task forces and other law enforcement conduct in
enforcing and elevating situations rather than de-escalation;

A history of improper enforcement of warrants that resulted in a new Baltimore Police
Guideline, policy 1007 published on February 9 2021, which if it had been published
prior the incident date, MICHAEL MARULLO would likely be alive.

Defendants CITY, BCPD, COUNTY, and COUNTY PD were deliberately indifferent to
Plaintiffs’ constitutional rights as evidenced by the failure of its policymaking agents and
their delegates to adequately train, instruct, supervise, and discipline its law enforcement
officers and agents with respect to the aforesaid unlawful policies and practices despite
full knowledge thereof.

It was the policy and custom of Defendants CITY, BCPD, COUNTY, and COUNTY PD
to inadequately train and supervise its police officers, including the defendant police
officers, thereby failing to adequately discourage further constitutional violations on the
part of its police officers.

Defendants CITY, BCPD, COUNTY, and COUNTY PD County did not require
appropriate in-service training or re-training of officers in the use of lethal force. In
addition, the Defendants CITY, BCPD, COUNTY, and COUNTY PD did not develop
and maintain adequate discipline and supervision over officers. Consequently, officers
believed that their actions would not be monitored by supervisory officers and that
misconduct would not be investigated or sanctioned.

Civil authorities have failed to develop adequate policies to limit the use of paramilitary
police units to barricades, hostage situations, and terrorist attacks, rather than executing
warrants. If the use of such units can be said to be appropriate for the execution of routine
drug warrants, the County should have developed policies and training adequate to
protect citizens, including training police officers to sufficiently identify themselves, so
that citizens will have fair warning of the presence of the police.

The aforementioned policymaking officials of Defendants CITY, BCPD, COUNTY and

COUNTY PD had the knowledge and notice alleged in the preceding paragraph based
upon numerous credible allegations and complaints and news reports.

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Despite having adequate notice, Defendants CITY, BCPD, COUNTY, COUNTY and
PD SHERRIF by its policymaking agents failed to properly instruct, train, supervise, and
discipline its law enforcement officers and agents with respect to the aforesaid conduct.

Defendants CITY, BCPD, COUNTY, and COUNTY PD and its policymakers’ deliberate
indifference to its citizenry’s rights is further evidenced by a failure to: conduct internal
disciplinary investigations; discipline the officers who were known to engage in such
misconduct; or retrain officers in appropriate use of force while serving warrants.

By adopting, sanctioning, enforcing, condoning, and/or encouraging unlawful policies,
practices, regulations, procedures, customs, and usage, as described above, and by its
deliberate indifference to Plaintiffs’ rights, Defendants CITY, BCPD, COUNTY, and
COUNTY PD, were the moving force behind, and foreseeably, proximately, and
substantially caused, the deprivation of Plaintiff's rights, privileges, and immunities
under the Fourth, Eighth and Fourteenth Amendments.

As a result of Defendants CITY, BCPD, COUNTY, and COUNTY PD, acts and
omissions, they deprived Plaintiff of his federal, state, and/or other legal rights; caused
Plaintiff's bodily injury, pain, suffering, psychological and/or emotional injury, and/or
humiliation and death; and/or otherwise damaged and injured Plaintiffs.

Wherefore, all Plaintiffs demand judgment against all Defendants, jointly and severally,
in an amount that exceeds $75,000 and will be determined by a jury including punitive
damages plus interest and costs, in order to fully and fairly compensate Plaintiffs for all
losses compensable under this claim.

EIGHTH CLAIM FOR RELIEF
(Maryland Constitution)

Plaintiff incorporates the allegations contained in the previous paragraphs of this
Complaint as if fully set forth herein.

The following acts of Defendants, CITY, BCPD, COUNTY, COUNTY PD,
TOWNSHIP, LCTPD, COUNTY and SHERRIF and the Individual Defendants, John
Does 1-40, and Richard Roes 1-40 and Defendant OFFICER TIMOTHY MCBRIDE
violated Article 24 of the Maryland Declaration of Rights which guaranteed MICHAEL
MARULLO’s right to be free from unreasonable seizures without due process of law, and
the right to be free from excessive force and free from the deprivation of his life and
liberty:

the Individual Defendants, Richard Roes 1-40, coupled with the conduct of Defendants,
CITY, BCPD, COUNTY, COUNTY PD, TOWNSHIP, LCTPD, COUNTY and
SHERRIF in failing to properly train and supervise the Individual Defendants John Does
1-40, and Defendant OFFICER TIMOTHY MCBRIDE as to the Fourth Amendment and

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Compensatory damages in an amount deemed fair and just by a jury or by this honorable
Court. :

Punitive damages against the Individual Defendants;

A declaration that Defendants CITY, BCPD, COUNTY, and COUNTY PD were
deliberately indifferent to its citizenry in the training for its officers regarding the use of
force while serving warrants;

A declaration that Defendants CITY, BCPD, COUNTY, COUNTY PD, TOWNSHIP,
LCTPD, COUNTY and SHERRIF’s violated the Maryland Declaration of Rights in
failing to properly train their police force, and in failing to properly supervise its own
offiers and those of the Task Force that were allowed to serve warrants in the State of
Maryland;

For the Court to retain jurisdiction in this case until the lawful conditions practice,
policies, acts and omissions complained of herein no longer exist and this Court is

satisfied they will not recur;

An award of the costs and expenses of this action including attorneys’ fees to the Plaintiff
pursuant to 43 U.S.C. § 1988; and

Any such other and further relief as this Court may deem appropriate.

DATED: Chester, PA
2/9/2023

 
